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Li Nowlin-Sohl*                              Brad S. Karp*
(admitted only in Washington)                Alexia D. Korberg*
Leslie Cooper*                               Jackson Yates*
Taylor Brown*                                Dana L. Kennedy*
AMERICAN CIVIL LIBERTIES UNION               PAUL, WEISS, RIFKIND, WHARTON
FOUNDATION                                   & GARRISON LLP
125 Broad St.                                1285 Avenue of the Americas
New York, NY 10004                           New York, NY 10019
Tel: (212) 549-2584                          Tel: (212) 373-3000
lnowlin-sohl@aclu.org                        akorberg@paulweiss.com
lcooper@aclu.org                             jyates@paulweiss.com
tbrown@aclu.org                              dkennedy@paulweiss.com

Richard Eppink (ISB no. 7503)
Casey Parsons (ISB no. 11323)                *Admitted pro hac vice
David A. DeRoin (ISB no. 10404)
WREST COLLECTIVE                             Attorneys for Plaintiffs
812 W. Franklin St.
Boise, ID 83702                              Additional counsel for Plaintiffs identified on
Tel: (208) 742-6789                          the following page
ritchie@wrest.coop
casey@wrest.coop

                       UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF IDAHO
                            SOUTHERN DIVISION
PAM POE, by and through her parents and next friends,
Penny and Peter Poe; PENNY POE; PETER POE; JANE
DOE, by and through her parents and next friends, Joan and
John Doe; JOAN DOE; JOHN DOE,
       Plaintiffs,                                           Case No. 1:23-cv-00269-CWD
                            v.
RAÚL LABRADOR, in his official capacity as Attorney
General of the State of Idaho; JAN M. BENNETTS, in her
official capacity as County Prosecuting Attorney for Ada,
Idaho; and the INDIVIDUAL MEMBERS OF THE
IDAHO CODE COMMISSION, in their official capacities,
       Defendants.



                 EXPERT DECLARATION OF KARA CONNELLY, MD
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Eric Alan Stone*                      Jordan Orosz*
Ariella C. Barel*                     PAUL, WEISS, RIFKIND, WHARTON
Kyle Bersani*                         & GARRISON LLP
GROOMBRIDGE, WU, BAUGHMAN AND         2001 K Street, NW
STONE LLP                             Washington, DC 20006-1047
565 5th Avenue, Suite 2900            Tel: (202) 223-7300
New York, NY 10017                    jorosz@paulweiss.com
Tel: (332) 269-0030
eric.stone@groombridgewu.com          Dina Flores-Brewer (ISB no. 6141)
ariella.barel@groombridgewu.com       ACLU OF IDAHO FOUNDATION
kyle.bersani@groombridgewu.com        P.O. Box 1897
                                      Boise, ID 83701
Philip S. May*                        (208) 344-9750
GROOMBRIDGE, WU, BAUGHMAN AND         dfloresbrewer@acluidaho.org
STONE LLP
801 17th St. NW, Suite 1050
Washington, DC 20006                  Attorneys for Plaintiffs
Tel: (202) 505-5830
philip.may@groombridgewu.com

*Admitted pro hac vice
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       I, Kara Connelly, MD, hereby declare and state as follows:

       1.      I am over 18 years of age and competent to testify.

       2.      I have been retained by counsel for Plaintiffs as an expert in connection with the

above-captioned litigation.

       3.      I have actual knowledge of the matters stated herein. If called to testify in this

matter, I would testify truthfully and based on my expert opinions.

       4.      In preparing this declaration, I reviewed Idaho State Legislature House Bill 71

(hereinafter, “Ban”). My opinions contained in this declaration are based on my training as

a pediatric endocrinologist; my clinical experience as a pediatric endocrinologist, including my

experience treating youth and young adults with hormonal therapies for a variety of conditions,

including gender dysphoria; my knowledge of peer-reviewed research relevant to the treatment

of gender dysphoria and other medical conditions for which hormonal therapies are provided;

and my knowledge of the clinical practice guidelines for the treatment of gender dysphoria set

forth by professional organizations including the World Professional Association for

Transgender Health (“WPATH”) and the Endocrine Society, as well as clinical practice

guidelines for the treatment of a wide range of conditions within the field of endocrinology.

       5.      I am being compensated at a rate of $350 per hour for the time I spend on this

case. My compensation does not depend on the outcome of this litigation, the opinions I express,

or the testimony I provide.

       6.      In the past four years, I have not given expert testimony at trial or deposition in

any cases.
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       I.      BACKGROUND AND QUALIFICATIONS

       7.      I received my medical doctor degree from the University of Texas Health Science

Center at San Antonio in 2007. I completed my residency in pediatrics and fellowship in

pediatric endocrinology at Oregon Health and Science University (“OHSU”).

       8.      Since completing my fellowship in 2013, I have been a pediatric endocrinologist

at OHSU, holding faculty appointments in the Division of Pediatric Endocrinology in the

Department of Pediatrics (I am currently an Associate Professor of Pediatrics) and serving as an

attending physician in Doernbecher Children’s Hospital at OHSU. I am currently the medical

director of the Doernbecher Gender Clinic and co-founder of the Doernbecher Sexual

Development Program.

       9.      I have extensive experience treating a variety of endocrine conditions in children

and adolescents and special expertise in treating youth with differences in sex differentiation as

well as youth with gender dysphoria. I have attended specialized training sessions on these

topics and routinely review the literature to remain knowledgeable of and familiar with all

emerging research.

       10.     I have been providing medical care for youth with gender dysphoria since 2014.

In 2015, I founded the Doernbecher Gender Clinic, which has grown over the years to an

interdisciplinary team providing comprehensive medical and mental health care for youth with

gender dysphoria and their families. In 2022, our team cared for 993 youth and their families. I

have personally delivered care to over 700 patients with gender dysphoria.

       11.     I have been providing medical care for children and adolescents with intersex

traits since 2010. In 2016, I co-founded the Doernbecher Sexual Development program. I have

personally cared for nearly 100 intersex youth through this program.



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       12.      I have published research on a variety of pediatric endocrine issues, including the

treatment of gender dysphoria, in peer-reviewed scholarly journals. I also serve as a reviewer for

scholarly journals in my field.

       13.      I am an active member of the Oregon Pediatric Society, American Academy of

Pediatrics, Pediatric Endocrine Society, World Professional Association of Transgender Health

(WPATH), and the United States Association of Transgender Health. I’ve also served as a

faculty member for WPATH’s General Education Initiative and have been an invited speaker on

gender-affirming care for the Pediatric Endocrine Society. I have given numerous lectures on

the treatment of gender dysphoria and other endocrine issues at meetings of medical professional

associations.

       14.      Further information about my professional background and experience is outlined

in my curriculum vitae, a true and accurate copy of which is attached as Exhibit A to this

declaration.

       II.      TREATMENT PROTOCOLS FOR GENDER DYSPHORIA

       15.      The Endocrine Society, in partnership with the Pediatric Endocrine Society, and

WPATH have published clinical practice guidelines for the treatment of gender dysphoria that

are based on systematic reviews of research and the expert opinions of clinicians in the field.

The first version of the WPATH guidelines, known as the Standards of Care, was published in

1979, and the most recent version—version 8—was released in 2022. 1 The first clinical practice




1
  Coleman, E., et al. (2022). Standards of Care for Health of Transgender and Gender Diverse
People, Version 8. Int J Transgender Health. 23:S1–S258. Available at
https://doi.org/10.1080/26895269.2022.2100644 (hereinafter, “WPATH guideline”).
                                                 3
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guideline for the treatment of gender dysphoria issued by the Endocrine Society was published in

2009, and the most recent update was released in 2017. 2

       16.      Like other clinical practice guidelines issued by the Endocrine Society and other

professional medical organizations regarding the treatment of other medical conditions, the

WPATH and Endocrine Society guidelines on the treatment of gender dysphoria provide

recommendations to healthcare providers about how to approach treatment of a condition based

on the best available evidence.

       17.      Under the WPATH and Endocrine Society guidelines, prior to onset of puberty,

there are no medical interventions that are indicated or recommended for children with gender

dysphoria.

       18.      For adolescents—youth who have started puberty—and adults, medical

interventions may be appropriate to treat gender dysphoria depending on the patient’s individual

needs. These interventions may include medication to delay puberty, hormone therapy (e.g.,

testosterone for transgender boys and testosterone suppression and estrogen for transgender

girls), and surgeries. These interventions are often collectively referred to as gender-affirming

medical care.

       19.      The WPATH and Endocrine Society guidelines on the treatment of gender

dysphoria are recognized as authoritative by the major medical and mental health professional

organizations in the United States, including the American Academy of Pediatrics, the American

Medical Association, the American Psychiatric Association, the American Psychological

Association, the American Academy of Child & Adolescent Psychiatry, the American Academy



2
 Hembree, W.C., et al. (2017). Endocrine Treatment of Gender-Dysphoric/Gender-Incongruent
Persons: An Endocrine Society Clinical Practice Guideline. JCEM. 102(11):3869–3903.
Available at https://doi.org/10.1210/jc.2017-01658 (hereinafter, “Endocrine Society Guideline”).
                                                 4
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of Family Physicians, and the American College of Obstetricians and Gynecologists. These

organizations all support the provision of gender-affirming medical care to adolescent patients

with gender dysphoria when indicated. 3

       20.     Gender-affirming medical care is provided to adolescents with gender dysphoria

in many other countries. While some European national health authorities have issued guidelines

recommending caution about providing such care, or providing that such care should occur in

clinical research settings, care is provided when deemed appropriate for adolescents.

       21.     Gonadotropin releasing hormone agonists (GnRHa) can be used to suppress

puberty and delay the development of secondary sex characteristics that are not in alignment

with the individual’s gender identity. These medications have been used successfully to delay

pubertal changes in youth with central precocious puberty. If treatment is stopped, endogenous

puberty resumes.

       22.     Under the Endocrine Society Guideline, adolescents with gender dysphoria may

be eligible for pubertal suppression if they meet the following criteria:

       1. A qualified mental health professional has confirmed that:

               a. the adolescent has demonstrated a long-standing pattern of gender

                   nonconformity, gender incongruence or gender dysphoria (whether suppressed

                   or expressed),

               b. gender dysphoria worsened with the onset of puberty,



3
  In contrast with the broad support of the medical community for gender-affirming medical care
for adolescents with gender dysphoria, cosmetic genital surgeries on infants with intersex traits,
which are permitted under the Ban, are highly controversial and many children’s hospitals and
major medical organizations such as the American Medical Academy have recommended that
these surgeries be deferred until children are old enough to assent to these procedures. See
Mulkey, N., Streed, C.G., & Chubak, B.M. (2021). A Call to Update Standard of Care for
Children with Differences in Sex Development, AMA J Ethics. 23(7):E550–556.
                                                  5
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                c. any coexisting psychological, medical, or social problems that could interfere

                    with treatment (e.g., that may compromise treatment adherence) have been

                    addressed, such that the adolescent’s situation and functioning are stable

                    enough to start treatment,

                d. the adolescent has sufficient emotional capacity and maturity to give informed

                    consent to this (reversible) treatment,

         2. And the adolescent:

                a. has been informed of the effects and side effects of treatment (including

                    potential loss of fertility if the individual subsequently continues with sex

                    hormone treatment) and options to preserve fertility,

                b. has given informed consent and (particularly when the adolescent has not

                    reached the age of legal medical consent, depending on applicable legislation)

                    the parents or other caretakers or guardians have consented to the treatment

                    and are involved in supporting the adolescent throughout the treatment

                    process,

         3. And a pediatric endocrinologist or other clinician experienced in pubertal assessment:

                a. agrees with the indication for GnRH agonist treatment,

                b. has confirmed that puberty has started in the adolescent, and

                c. has confirmed that there are no medical contraindications to GnRH agonist

                    treatment. 4




4
    Endocrine Society Guideline at 3878.
                                                  6
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       23.     Hormone therapy—testosterone for transgender males and estrogen and anti-

androgens (to suppress testosterone) for transgender females—can be used to initiate puberty

consistent with a patient’s gender identity.

       24.     Under the Endocrine Society Guideline, adolescents may be eligible for gender-

affirming hormone therapy if they meet the following criteria:

       1. A qualified mental health professional has confirmed:

               a. the persistence of gender dysphoria,

               b. any coexisting psychological, medical, or social problems that could interfere

                   with treatment (e.g., that may compromise treatment adherence) have been

                   addressed, such that the adolescent’s situation and functioning are stable

                   enough to start sex hormone treatment,

               c. the adolescent has sufficient mental capacity to estimate the consequences of

                   this (partly) irreversible treatment, weigh the benefits and risks, and give

                   informed consent to this (partly) irreversible treatment,

       2. And the adolescent:

               a. has been informed of the (irreversible) effects and side effects of treatment

                   (including potential loss of fertility and options to preserve fertility),

               b. has given informed consent and (particularly when the adolescent has not

                   reached the age of legal medical consent, depending on applicable legislation)

                   the parents or other caretakers or guardians have consented to the treatment

                   and are involved in supporting the adolescent throughout the treatment

                   process,

       3. And a pediatric endocrinologist or other clinician experienced in pubertal induction:



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               a. agrees with the indication for sex hormone treatment, and

               b. has confirmed that there are no medical contraindications to sex hormone

                   treatment. 5

       25.     The WPATH standards of care have similar recommendations concerning

eligibility of adolescents for pubertal suppression and gender-affirming hormone therapy.

       26.     Surgical care for gender dysphoria is rarely provided to youth under 18. If

surgical services are offered, they are almost always gender-affirming chest surgeries for youth

assigned female at birth—also known as gender-affirming mastectomy. 6 Under the Endocrine

Society Guideline, genital surgery is not recommended to patients under age 18. The WPATH

standards of care do not provide an age delineation for vaginoplasty, but strongly caution about

the need to ensure that the patient has the maturity to make this decision.

       27.     Both the WPATH and Endocrine Society guidelines emphasize the importance of

a comprehensive mental health evaluation prior to the initiation of gender-affirming medical care

for adolescents. This evaluation should include an assessment of the youth’s gender identity

development; the presence of any co-occurring mental health conditions and whether symptoms

may interfere with diagnosis or functioning to the extent that decision-making is compromised;

and emotional maturity and decision-making capacity.

       28.     Gender-affirming medical interventions are not indicated for all individuals who

present for care. Overall, about one-third of our patient population continues to see our team for

support without accessing medical interventions.




5
  Id.
6
  Surgery is not offered before an individual has reached their final adult height, and only after
other attempts to relieve dysphoria are pursued.
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       29.     The WPATH and Endocrine Society guidelines also highlight the importance of

informing the patient and their parents of the potential risks and benefits of treatment, including

the potential risk to fertility and options for fertility preservation, and obtaining informed consent

from the parents or legal guardians. The WPATH guideline also recommends that doctors

inform families of the limitations of the research and the possibility that some patients will come

to experience their gender differently.

       III.    GENDER-AFFIRMING MEDICAL CARE FOR ADOLESCENTS IS
               EFFECTIVE

       30.     Gender-affirming medical care has been provided to adolescents for decades, and

clinicians have seen the significant benefits of such treatment to patients.

       31.     In our clinic, when adolescents present for care, they often present with high

degrees of anxiety, depression, and suicidal ideation. Most of our patients also come in

experiencing challenges with social isolation, school attendance, and lack of desire to engage in

relationships with family and peers. Most of these mental health and social challenges are linked

to gender dysphoria and experiences of minority stress. While the social and political

environment may continue to negatively impact a patient’s mental health, we see dramatic

improvements in our patients after they begin gender-affirming medical care. Depression,

anxiety, self-harm, and suicidal ideation are significantly reduced, based on the screening tools,

PHQ-9 and GAD-7, which patients complete at every visit. Patients routinely comment about

finally feeling like themselves and being able to engage with the rest of their world. Parents

regularly tell our clinical team that gender-affirming medical care has resulted in great

improvement in their children’s psychological well-being, school performance, and relationships.

As treatment helps address their gender dysphoria, our patients feel motivated to apply for



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college, join the military, and pursue employment and creative outlets. Many become leaders in

their schools and communities.

        32.    Research conducted by investigators in the United States and around the world

has evaluated a variety of mental health outcomes for minors with gender dysphoria who have

been treated with puberty blockers, hormone therapy, or both, and their findings are consistent

with what we experience in clinic—that treatment is associated with improvement in mental

health. 7

        33.    Research also demonstrates the negative impacts of not receiving treatment, or

having to delay treatment into adulthood. For example, a study of 20,619 transgender adults

found that access to pubertal suppression during adolescence resulted in lower odds of lifetime

suicidal ideation (Turban 2020). Another survey of 11,914 transgender and nonbinary youth

demonstrated that individuals who had access to gender-affirming hormones had lower odds of

depression and suicidality (Green 2022).




7
  See, e.g., de Vries, A.L., et al. (2011). Puberty Suppression in Adolescents With Gender
Identity Disorder: A Prospective Follow-Up Study. J Sex Med. 8(8):2276–2283; de Vries, A.L.,
et al. (2014). Young Adult Psychological Outcome After Puberty Suppression and Gender
Reassignment. Pediatrics. 134(4):696–704; Turban, J., et al. (2020). Pubertal Suppression for
Transgender Youth and Risk of Suicidal Ideation. Pediatrics. 145(2):e20191725; van der
Miesen, A.I., et al. Psychological Functioning in Transgender Adolescents Before and After
Gender-Affirmative Care Compared with Cisgender General Population Peers. J Adolesc Health.
66(6):699–704; Achille, C., et al. (2020). Longitudinal Impact of Gender-Affirming Endocrine
Intervention on the Mental Health and Well-Being of Transgender Youths: Preliminary Results.
Int J Pediatr Endocrinol. 2020:8; Chen, D., et al. (2023). Psychosocial Functioning in
Transgender Youth after 2 Years of Hormones. New England J Med. 388:240–250; Allen, L.R.,
et al. (2019). Well-Being and Suicidality Among Transgender Youth After Gender-Affirming
Hormones. Clin Pract Ped Psychol. 7(3):302–311; de Lara, D.L., et al. (2020). Psychosocial
Assessment in Transgender Adolescents. Anales de Pediatría (Eng Ed). 93(1):41–48; Green,
A.E., et al. (2022). Association of gender-affirming hormone therapy with depression, thoughts
of suicide, and attempted suicide among transgender and nonbinary youth. J Adol Health.
70(4):643–649.
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       34.     Research also shows the benefit of access to care during adolescence as opposed

to waiting until adulthood. A study of 27,715 transgender and nonbinary adults revealed lower

lifetime odds of suicidality for those who were able to access gender-affirming care during

adolescence compared to those who could not access care until adulthood. 8

       35.     The findings of the research on adolescents who receive gender-affirming

hormone therapy are consistent with findings of the body of research on treatment of adults.

Numerous studies have found that hormone therapy is effective at alleviating gender dysphoria

and improving mental health in adults. 9

       IV.     GENDER-AFFIRMING MEDICAL CARE FOR ADOLESCENTS IS SAFE

       36.     Pubertal suppression with GnRHa medications, hormone therapy, and

mastectomy are treatments that have been used for many years for a range of conditions in

adolescents.

       37.     GnRHa medications have been used for 40 years to treat central precocious

puberty (CPP), a condition that causes early pubertal development in children. The medications

pause pubertal development until the child reaches the typical age for puberty, at which point the

medication is stopped, endogenous hormone production resumes, and typical secondary sex

characteristics develop. GnRHa medications are also used to treat endometriosis, uterine




8
  Turban, J.L., et al. (2022). Access to gender-affirming hormones during adolescence and
mental health outcomes among transgender adults. PLoS ONE 17(1):e0261039.
9
  See, e.g., van Leerdam, T.R., Zajac, J.D., & Cheung, A.S. (2023). The Effect of Gender-
Affirming Hormones on Gender Dysphoria, Quality of Life, and Psychological Functioning in
Transgender Individuals: A Systematic Review, Transgender Health. 8(1); Colizzi, M., Costa,
R., & Todarello., O. (2014). Transsexual patients’ psychiatric comorbidity and positive effect of
cross-sex hormonal treatment on mental health: results from a longitudinal study.
Psychoneuroendocrinology. 39:65–73.
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leiomyoma, ovarian cancer, fertility preservation in women with cancer, premenstrual syndrome,

and as an adjunct to growth hormone therapy in youth with idiopathic short stature.

       38.     Some adolescents have medical conditions (i.e., ovarian failure, Turner syndrome,

hypogonadotropic hypogonadism, Klinefelter syndrome, or constitutional delay of puberty)

which require the use of sex steroid hormone therapy. Cisgender girls also utilize estrogen-

containing medications to manage menstrual cycles and prevent pregnancy.

       39.     Cisgender girls with polycystic ovarian syndrome (“PCOS”) utilize

spironolactone—an anti-androgen medication—to manage the increased facial and body hair that

is often associated with that condition.

       40.     Mastectomy is a commonly performed and widely accepted surgical procedure to

treat gynecomastia in adolescent cisgender boys. Gynecomastia is enlargement of the breast

tissue in cisgender boys or men.

       41.     In some cases, these medications or surgical treatments are aimed at bringing

cisgender adolescent patients’ bodies into alignment with their gender. For example,

mastectomy is often provided to cisgender boys with gynecomastia to address the distress related

to being a boy with breasts. And for some cisgender girls with PCOS, treatment with

spironolactone addresses distress related to being a girl with facial hair.

       42.     Children and adolescents of all gender identities often need the assistance of

medicine when their bodies start puberty too early, they are delayed in starting puberty or not

able to start puberty at all, they experience the development of secondary sex characteristics that

do not accord with their cisgender identity, or they start a puberty that causes secondary sex

characteristics causing or exacerbating gender dysphoria.




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       43.     GnRHa medications for pubertal suppression, testosterone, estrogen, and anti-

androgens have all been demonstrated to be safe in clinical experience and research studies. The

same is true of mastectomies.

       44.     There are risks and benefits to any medical treatment; gender-affirming medical

treatments are not an exception.

       45.     The risks of puberty blockers are decreased bone density with prolonged use,

sterile abscess at an injection site, and, very rarely, prolonged cardiac QT and increased

intercranial hypertension. These risks are the same for youth receiving treatment for gender

dysphoria as those being treated for central precocious puberty and other conditions.

       46.     Pubertal suppression does not result in any permanent changes to the body and

has no permanent impact on fertility as a stand-alone medication.

       47.     Risks of estrogen therapy include blood clots, elevated blood pressure, diabetes,

and migraine headaches. These risks are not higher than for the general population in the

absence of individual or family history, or the use of nicotine. These risks exist whether the

treatment is for transgender girls with gender dysphoria or for cisgender girls with ovarian

failure, or any other hypogonadal condition.

       48.     Risks of testosterone therapy include increased red blood cells, liver inflammation

(research studies show that risk of liver inflammation is very low), high cholesterol, high blood

pressure, and heart disease, especially with a positive family history. These same risks exist

whether the treatment is for transgender boys with gender dysphoria or for cisgender boys with

testicular failure or any other hypogonadal condition.

       49.     For all of these medications, the risks are well-managed when care is provided

and monitored by a healthcare provider. The risks become more significant when patients resort



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to self-treatment. There are well-documented stories, including those we have witnessed in our

own clinic, where adolescents were unable to access this care through a doctor and instead turned

to black markets or took medications from friends/family to self-treat. Self-treatment can result

in non-therapeutic hormone levels, which can negatively impact mood and increase several

health risks, such as blood clots, cardiovascular problems, and liver and kidney dysfunction.

       50.     Gender-affirming hormone therapy may have an impact on future fertility

potential, 10 although treatment can be tailored to minimize that risk if maintaining fertility is

important to the family and there are options for fertility preservation. Impairment of fertility is

not unique to gender-affirming hormone therapy. For example, treatments for some pediatric

cancers cause likely loss of fertility. Some youth with intersex traits have their gonads surgically

removed if they are at high risk of developing gonadal cancer.

       51.     As with all medical treatments, doctors are expected to fully inform patients and

their parents, based on the available evidence, of the potential risks, benefits, and alternatives to

treatment so that the families can weigh them and make an informed decision about whether to

pursue treatment. The informed consent process is the hallmark of medical decision-making.

Patients—and if minors, their parents—make the decision after being provided the information

necessary to make an informed decision. The informed consent process for gender-affirming




10
   Many individuals assigned female at birth who take testosterone are able to achieve
pregnancy or use assisted reproductive technology to conceive after discontinuing testosterone.
See, e.g., Light, A.D., et al. (2014). Transgender Men Who Experienced Pregnancy after Female
to Male Gender Transitioning, Obstetrics & Gynecology, 124(6):1120–1127. In addition,
testosterone is not an effective form of contraception and some transgender men have conceived
while taking testosterone. See, e.g., Thornton, K.G. & Mattatall, F. (2021). Pregnancy in
transgender men. CMAJ. 193(33):E1303. Some transgender women may elect to use only anti-
androgen medications without estrogen to preserve sperm production and fertility potential.
Sperm production may resume in some transgender women. See, e.g., Jiang, D.D., et al. (2019).
Effects of Estrogen on Spermatogenesis in Transgender Women. Urology. 132:117–122.
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medical care for minors is no different than how medical decision-making for minors occurs in

other areas of medicine.

        52.    As discussed above, the WPATH and Endocrine Society guidelines offer

recommendations about information that should be provided to families regarding gender-

affirming medical care, including information about limitations in research—what is known and

unknown; the potential impacts of some gender-affirming medical interventions on fertility; and

the rare but potential possibility of returning to living consistently with their birth-assigned

gender. 11

        53.    Informed consent is a dynamic process; frequent assessment of the benefits of

medications, and whether they continue to align with the individual’s goals and outweigh risks,

occurs in both medical and behavioral health follow-up visits.

        54.    There is nothing unique about gender-affirming medical care that warrants

departing from the normal principles of medical decision-making for youth that parents make the

decision after being informed of the risks, benefits, and alternatives by physicians.



11
   Both clinical experience and research show that adolescents and adults who have received
gender-affirming medical care rarely later come to identify with their sex assigned at birth and/or
regret the care. For example, a prospective longitudinal study by de Vries, et al. found that none
of the 55 adults who had initiated puberty blockers and hormones in adolescence reported regret
with any of their treatment (de Vries 2014). Wiepjes, et al. (2018) found that 0.6% of
transgender women and 0.3% of transgender men experienced regret (n=6793) related to gender-
affirming medical interventions. Their study also noted that in many of those cases, the regret
was “social regret”—regret related to rejection, loss of community, or threats of violence. See
Wiepjes, C.M., et al. (2018). The Amsterdam Cohort of Gender Dysphoria Study (1972–2015):
Trends in Prevalence, Treatment, and Regrets. J Sexual Med. 15(4):582–590. See also Brik, T.,
et al. (2020). Trajectories of adolescents treated with gonadotropin-releasing hormone analogues
for gender dysphoria. Archives of Sexual Behavior. 49(7):2611–2618 (finding that 3.5% of study
cohort discontinued GnRHa and did not go on to hormone therapy because they no longer
wished gender-affirming treatment); Wiepjes, et al. (2018) (finding 1.9% of cohort discontinued
GnRHa but reasons not provided); Olson, K.R., et al. (2022). Gender Identity 5 Years After
Social Transition. Pediatrics. 150(2) (2.5% of study cohort returned to cisgender identity by five
years after their initial social transition).
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         V.      THE EVIDENCE SUPPORTING GENDER-AFFIRMING CARE IS
                 COMPARABLE TO EVIDENCE SUPPORTING MANY OTHER
                 MEDICAL TREATMENTS

         55.     The studies on gender-affirming medical care for adolescents (and adults) use a

variety of commonly used research methods including prospective observational and

retrospective cross-sectional studies comparing individuals who receive treatment to those who

do not, and longitudinal studies that follow individuals over a period of time. These research

methods are widely used in the field of medicine to evaluate the efficacy of treatment.

         56.     While randomized controlled clinical trials (“RCTs”) can provide especially

strong evidence in medical research by limiting confounding variables, given that such studies

require that outcomes of a particular treatment are compared to outcomes of patients not

receiving the treatment, it is frequently not feasible or ethical to rely on RCTs. Thus, many

medications used to treat medical conditions in both pediatrics and adults are used based only on

observational and retrospective research studies—or clinical experience alone—without

randomized controlled clinical trials. For example, insulin, the hormone discovered in the 1920s

as a treatment for type 1 diabetes mellitus, was used successfully to prevent death in several

patients with diabetic ketoacidosis. Based on the outcomes of these clinical experiences, insulin

became widely accepted as the standard treatment for type 1 diabetes mellitus; a randomized

controlled trial would have been unethical given the high rate of death associated with other

earlier attempted treatments. 12 Because pubertal suppression and gender-affirming hormones to

treat gender dysphoria are now widely accepted in the medical field based on decades of clinical

experience and research studies demonstrating efficacy, denying this care for a population of

youth to serve as the “control,” or comparison, group for an RCT would be unethical.



12
     Rosenfeld, L. (2002). Insulin: discovery and controversy. Clin Chem. 48:2270–2288.
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       57.     While the body of research on gender-affirming medical care for adolescents

continues to grow, we presently have sufficient clinical and research evidence in both youth and

adult populations that shows the risks and benefits of providing this care, in addition to the risks

of not providing care. The evidence is comparable in quantity and quality to evidence we have

in support of many other medical interventions.

       58.     Some who oppose gender-affirming medical care have asserted that this care is

“experimental,” suggesting this is an area of medicine where there is no clear understanding of

the impact of an intervention. Here, we have decades of experience providing care and a

growing body of research also supporting the efficacy and safety of this care, in addition to

substantial evidence about the use of these medications in other areas of medicine.

       59.     Once the Food and Drug Administration (“FDA”) has approved a medication as

safe and effective for an indication, prescribers are generally free to prescribe it for other

indications. The fact that the FDA has not approved puberty blockers, testosterone, or estrogen

specifically for the treatment of gender dysphoria does not mean that the treatment is

experimental or unproven. The use of medication for indications that have not received FDA

approval—often called “off-label use”—is a widely accepted practice in medicine. This practice

is legal, ethical, and common. The Agency for Healthcare Research and Quality estimates that

one in five medications prescribed is prescribed off-label. Off-label use is even more common in

pediatrics: 45% of pediatric outpatient prescriptions are off-label, and nearly 80% of hospitalized

children receive at least one drug off-label. 13 Off-label use is so common because it is often not

worth the cost to pharmaceutical companies to pursue approval for additional indications once a



13
  Antoon, J.W., et al. (2023). . Advancing pediatric medication safety using real-world data:
Current problems and potential solutions. J Hosp Med. doi:10.1002/jhm.13068. Epub ahead of
print. PMID: 36855275.
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medication has been approved by the FDA. For example, Gabapentin has an FDA indication for

treating seizures and fibromyalgia, but is often (more than 80% of the time) used off-label to

treat bipolar disorder, subacute low back pain, neuropathy, as migraine prophylaxis, and for

additional indications. 14 Some of the same medications used off-label in gender-affirming

medical care are also widely used off-label for other purposes. Spironolactone, which was

approved by the FDA for controlling blood pressure, is used in cisgender women and girls off-

label to control side effects of PCOS. And GnRHa medications have been approved for the

treatment of precocious puberty but not for many other indications for which they are commonly

used, including ovarian cancer, premenstrual syndrome, fertility preservation in women and

adolescent girls with cancer, and as an adjunct to growth hormone therapy in youth with

idiopathic short stature.

       VI.     HARM TO ADOLESCENTS WITH GENDER DYSPHORIA AND THEIR
               FAMILIES IF THE BAN TAKES EFFECT

       60.     We know from clinical experience and research that delaying or denying patients

gender-affirming medical care when needed comes with an increase in emotional harm. Social

transition can offer many benefits, but social transition alone does not prevent an adolescent

from experiencing the trauma of seeing their body change in ways that do not align with their

gender identity. Additionally, many of these body changes would require major surgical

interventions in the future to address, and some are not fully treatable by future medical

intervention. For example, once vocal cords are exposed to testosterone, only vocal training can

potentially shift the deepening of the voice, but this treatment has mixed success. Pubertal




14
  See Fukada C., et al. (2012). Prescribing gabapentin off label: perspectives from psychiatry,
pain and neurology specialists. Can Pharm J (Ott). 145:280–284.e1.
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suppression prevents this psychological trauma and the need for more invasive medical

interventions in the future.

       61.     As previously discussed, clinical experience and research have shown that

gender-affirming medical care improves mental health outcomes; the converse is also true—that

being unable to access care increases mental health distress. We see a marked difference in the

social functioning, emotional wellness, and psychological stability of our patients after they are

able to access pubertal suppression and hormone therapy when indicated.

       62.     Additionally, our older adolescent patients who have experienced at least some

secondary sex characteristics not aligned with their identity report higher levels of depression

and anxiety, lower participation in school, and less ability to engage in social relationships.

       63.     Adolescents in Idaho who are already receiving gender-affirming medical care

will be forced to medically detransition by the Ban. Abruptly discontinuing hormone therapy

can result in emotional instability and dysregulation as well as adverse medical outcomes such as

profound fatigue, hot flashes, and difficulty concentrating.

       64.     If this Ban takes effect, patients who have had the benefit of pubertal suppression

and/or hormone therapy will see their bodies change in ways that will cause profound distress.

And for some, discontinuing care will not return their body to match their assigned sex but will

leave them with a mix of typically male and female phenotype. Adolescents assigned male at

birth who have been treated with pubertal suppression and estrogen will have had permanent

breast development from the estrogen and suppression of testosterone. Once these medications

are stopped, endogenous testosterone becomes the dominant hormone, leading to masculinizing

physical changes. Patients assigned female at birth who have taken testosterone may have

experienced permanent voice deepening, masculinized facial structure, and facial and body hair



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growth. Discontinuing care would be followed by breast development and resumption of

menses, which often cause significant distress.

       65.     Psychologically, adolescents who have been receiving care for years and have to

discontinue treatment will see a return of, or dramatic increase in, distress related to gender

dysphoria. Based on what we know about patients’ experiences prior to receiving care, if care is

cut off or denied, we will see increased rates of depression, anxiety, suicidal ideation, and

hospitalizations for suicide attempts. We also will likely see the tragedy of lives ended by

suicide.

       66.     Patients may be the most directly and seriously harmed by these care bans, but

their families are also suffering. At our clinic in Oregon, we are already seeing the impact on

families who have already or are planning to leave their states because of healthcare bans; there

are also families deciding to attempt to seek care in states where the care is available. Our clinic

has already received inquiries from Idaho families wanting to travel for care. We do not yet have

a clear answer of whether or how we will have the capacity to be able to meet the care needs of

these patients. Idaho parents and providers are calling in states of desperation and hopelessness,

unable to confirm that they will have access to care in Oregon.

       67.     Parents are having to make the difficult decision to relocate the family so that

their children can continue to access care. In some cases, it is more financially viable to relocate,

rather than to regularly travel. In others, the families are afraid that traveling for care and

bringing medications back to a state with a ban may put their providers or their family at risk.

The need to relocate removes patients and families from their support systems at a time when

direct emotional and material support is most needed. Financial resources are drained and family

units are split up. For example, in one family from another state that we see in the clinic, one



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parent was able to secure a job in Oregon, but the other parent has not yet and has stayed behind

with the cisgender sibling. The family is paying for a mortgage, plus the cost of relocation and

temporary housing. Another clinic family that came to Oregon from a state with a ban does not

have the means to afford housing and is living in a camper van in a city where they are at risk of

being ticketed and towed.

       68.     Parents of families from out of state are often in a state of grief, unable to believe

that the state that they’ve called home, many for generations, is harming their children. The

emotional and logistical burden for parents is high, and the areas that they are moving to do not

have the infrastructure or resources to absorb the increasing demand and severity of mental

health issues. Many existing clinics are challenged in getting patients in on a timeline that will

not result in a gap in treatment. As parental stress increases, we’ve seen parental mental health

declines and the overall health of the family system decrease.

       69.     Adolescents are painfully aware of the sacrifices their families are making to get

them care and many see this as evidence that they are a burden; belief of the adolescent that they

are a burden is an intrusive thought that drives suicidal ideation and attempts. 15

       70.     We are seeing these scenarios unfold as families move to Oregon from Texas,

Tennessee, Arkansas, Iowa, Florida, Alabama, and Idaho. Others are exploring traveling to

Oregon for care. Our clinic wait-times continue to increase, which increases patient distress (for

both existing Oregonians and those relocating to Oregon) and risk for psychological harm.

       71.     Idaho families that have reached out to our clinic are already suffering and feeling

the impact of this Ban, even before it goes into effect. We are receiving an increasing number of




15
  See, e.g., Chu, C., et al. (2017). The interpersonal theory of suicide: A systematic review and
meta-analysis of a decade of cross-national research, Psychol Bull. 143(12):1313–1345.
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calls and emails requesting care from families and providers in Idaho and other states who are

desperate to continue the care their adolescents need. Providers are distraught because they will

be forced to abandon their patients and/or force them to medically detransition, which directly

violates their code of medical ethics—to do no harm.

       72.      It is often the most well-connected and resourced families that are able to

relocate. If the Ban goes into effect, Idaho families will feel the pain more deeply and Idaho will

continue to lose medical providers and other front-line healthcare staff, business owners,

teachers, first responders, and individuals in the hospitality industry, to name a few of the

occupations held by parents who are seeking to relocate.

       73.     For those families that are less resourced and unable to move or travel out of state

for care, they will have to watch as their children are withdrawn from treatment that has enabled

them to flourish and see them return to the suffering that brought them to care. We know that

gender diverse people from communities of color and families living in poverty have

significantly worse mental health outcomes than their white and financially resourced peers. 16



I declare under penalty of perjury that the foregoing is true and correct.




Executed on: _7/14/2023_                                    ___________________________
                                                                      Kara Connelly, MD




16
  James, S.E., et al. (2016). The Report of the 2015 U.S. Transgender Survey. Washington, DC:
National Center for Transgender Equality.

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